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                     THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 COMMONWEALTH OF PENNSYLVANIA

                   Plaintiff,                        Civil Action No. 2:17-cv-4540 (WB)
 v.

 JOSEPH R. BIDEN, in his official capacity as
 President of the United States, et al.

                   Defendants.



                    NOTICE OF WITHDRAWAL OF APPEARANCE
       Please withdraw the appearance of Rebecca Kopplin of the Department of Justice on

behalf of Defendants. Defendants will continue to be represented by Daniel Riess and any other

Department of Justice attorneys who enter an appearance.




Dated: March 4, 2025                        Respectfully Submitted,

                                            YAAKOV M. ROTH
                                            Acting Assistant Attorney General
                                            Civil Division

                                            MICHELLE R. BENNETT
                                            Assistant Director, Federal Programs Branch

                                            /s/ Rebecca Kopplin
                                            REBECCA KOPPLIN
                                            Trial Attorney
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                                  CERTIFICATE OF SERVICE


       I hereby certify that, on March 4, 2025, a copy of the foregoing document was

electronically filed with the Clerk of Cour using the CM/ECF system which will send a

notification of such filing to all counsel of record.


                                                        /s/ Rebecca Kopplin____
                                                        Rebecca Kopplin




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